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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

HAROLD PATTERSON, 3
Plaintiff, !

‘ ' Civil Action No. 20-cv-12088-RGS
ORA, INC.,
Defendant.

 

STIPULATED CONFIDENTIALITY PROTECTIVE ORDER

To adequately protect material entitled to be kept confidential, the parties in the above-
captioned matter, by and through their respective counsel, and pursuant Rule 26(c) of the Federal
Rules of Civil Procedure, hereby stipulate and agree to the terms of this Stipulated
Confidentiality Protective Order as follows:

1. Scope. This Stipulated Confidentiality Protective Order (“Order”) shall apply to
information, testimony, documents, and things provided by the parties in the above-captioned
matter that either party believes reasonably and in good faith to contain proprietary, personal, or
confidential information that is not generally disclosed to the public by the parties and any other
information that is required by law or agreement to be kept confidential.

2. Non-Disclosure of Confidential Documents. No confidential document may be
disclosed to any person except as provided in Paragraph 3 below. A “confidential document”
means any document that bears the legend “CONFIDENTIAL.” In the event that a party
inadvertently fails to designate a document as confidential, and the party reasonably and in good
faith believes that it should be so designated, the party may subsequently make such a

designation by notifying the recipient’s counsel in writing as soon as practicable. After receipt

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of such notification, the recipient will treat the information as if it had been designated
confidential at the time the information was produced. The parties agree that either party may
designate appropriate documents prior to the Court’s entry of this Order.

3. Permissible Disclosures. Documents and information stamped
“CONFIDENTIAL” may be disclosed to: (i) counsel for the parties in this action who are
actively engaged in the conduct of this litigation, including counsel’s legal and clerical assistants;
(ii) a party, or an officer, director, or employee of a corporate party deemed necessary by counsel
for that party to aid in the prosecution, defense, or settlement of this action; (i11) any person
designated by the Court; (iv) persons sitting for depositions or appearing as trial witnesses; (v)
court reporters employed in this action; (vi) outside consultants or experts retained for the
purpose of assisting counsel in the litigation; and (vii) any other person as to whom the parties in
writing agree, provided, however, that unless otherwise agreed to by the parties, persons
identified in subparts (iv), (vi), and (vii) shall sign the form appended as Exhibit A prior to the
disclosure of any confidential documents to such person. |

4. Dispute Regarding Classification. In the event that a party objects to the
designation of any document or documents as confidential by the other party, the objecting party
shall provide notification of the objection to counsel for the party asserting confidentiality. The
designating party shall then have five business days to provide the basis for or remove the
designation. In the event that the designating party continues to assert confidentiality over the
objecting party’s objection, the designating party shall submit the issue to the Court. If the
designating party does not submit the dispute to the Court, the document(s) at issue shall no

longer be considered Confidential. Any document(s) that are stamped confidential and subject to

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challenge shall be treated as subject to the protections of this stipulation until the Court orders
otherwise.

5. Designation of Transcripts. When confidential information is incorporated into
a transcript of a deposition, hearing, trial or other proceeding, including exhibits, the designating
party shall, with the cooperation of all other parties, make arrangements with the reporter during
the course of such deposition or other proceeding to label such transcript, portions thereof and/or
exhibits as “CONFIDENTIAL.” In the alternative, a party may designate, in writing, such
transcripts, portions thereof and/or exhibits as “CONFIDENTIAL.” after receipt by the
designating party of the original or a copy thereof.

6. Use of Confidential Information. Persons obtaining access to confidential
documents or information under this Order shall use the information only for preparation and
trial of this litigation (including during discovery, motion practice, mediation, appeals and
retrials), and shall not use such information for any other purpose, including but not limited to
use in business, governmental, commercial, administrative, or judicial proceedings or
transactions other than the present action.

7. Filing of Confidential Information. To the extent that any party seeks to file
documents or information subject to this stipulation with the Court, the filing party may either (a)
file a motion for leave to file the information under seal pursuant to Local Rule 7.2 prior to
submitting such material to the court, or (b) seek and obtain the producing party’s consent to file
such information without such protections. Any documents filed under seal shall remain sealed
while in the office of the Clerk so long as they retain their status as confidential documents, in

accordance with the governing Local Rule.

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8. Non-termination. The provisions of this Order shall not terminate at the
conclusion of this action. Upon completion of this litigation, the receiving party shall, upon
request by the producing party, return, or destroy all Confidential material.

9, No Waiver. The inadvertent, unintentional, or in camera disclosure of
confidential documents and information shall not be deemed a waiver of the producing party’s
claims of confidentiality. If a party inadvertently or unintentionally produces any confidential
document or information without marking or designating it as such, the party may, promptly
upon discovery, furnish a substitute copy properly marked along with written notice to all parties
(or written notice alone as to non-documentary information) that such information is deemed
confidential and should be treated as such in accordance with the provisions of this Order. Each
person receiving such a notice must treat the inadvertently produced, confidential information as
confidential. If the inadvertently produced, confidential information has been disclosed prior to
the receipt of such notice, the party that made the disclosure shall notify the party providing
notice of inadvertent disclosure as soon as practicable.

10. + Production of Privileged Material. The parties agree that the production of
communications, documents or information protected by the attorney-client privilege, work
product doctrine, or any other privilege or protection from disclosure (“Privileged Material”),
whether inadvertent or otherwise, is not a waiver of the privilege or protection from discovery in
this case or in any other federal or state proceeding. If the receiving party receives documents,
ESI or other forms of information from the producing party that, upon inspection or review,
potentially and reasonably appears to contain Privileged Material, the receiving party shall
immediately stop review of such information and promptly return, delete, or destroy all copies of

the Privileged Material. Upon written notification from the producing party to the receiving

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party identifying Privileged Material, the receiving party shall not review the disclosed
Privileged Material; shall return, delete, or destroy all copies of the disclosed Privileged
Material; and shall make no further use of such Privileged Material. The parties agree that this
Order shall be interpreted to provide the maximum protection allowed by Federal Rule of
Evidence 502(d).

11. Nothing contained in this Order and no action taken pursuant to it shall prejudice
the right of any party to contest the alleged relevancy, admissibility, or discoverability of

confidential documents and information sought.

BY THE COURT:

United Staves Dictner Judge

DATED: June 4, 2021
SO AGREED AND STIPULATED TO:

/s/ Katherine C. Oeltjen

/s/ Daniel B. Klein

 

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